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 5

 6                    UNITED STATES DISTRICT COURT
 7                         DISTRICT OF NEVADA
                                                -oOo-
 8
     UNITED STATES OF AMERICA,                     )
                                                   ) Case No.: 2:11-CR-188-RLH-CWH
 9                                                 )
                    Plaintiff,
                                                   ) ORDER OF DISMISSAL
10                                                 )
            vs.                                    )
11                                                 )
     ADMA FATA,                                    )
12                                                 )
                    Defendant.                     )
                                                   )
13

14
            Based on the Motion of the Government, and good cause appearing therefore, IT IS
15
     ORDERED, that pursuant to the Government’s Motion to Dismiss Indictment, and in
16
     accordance with Fed. R. Crim. P. 48(a), the Superseding Criminal Indictment filed on August 2,
17
     2011 in the above-captioned case is hereby DISMISSED as to Defendant ADMA FATA.
18
                        2nd
            DATED this _______          June
                               day of _______________, 2015.
19

20
                                                ____________________________________
21                                              Hon. ROGER L. HUNT
                                                UNITED STATES DISTRICT JUDGE
22

23

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                                               3
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